

ORDER

PER CURIAM:
AND NOW, this 27th day of February, 1995, Alton H. Maddox, Jr., having been suspended from the practice of law in the State of New York for a period of five years by Order of the Supreme Court of the State of New York dated August 1, 1994; the said Alton H. Maddox, Jr., having been directed on October 3, 1994, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and upon consideration of the responses filed, it is
ORDERED that Alton H. Maddox, Jr., is suspended from the practice of law in this Commonwealth for a period of five years, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
MONTEMURO, J., is sitting by designation.
